                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE

                                        Case No. 3:23-cv-433

 PREPARED FOOD PHOTOS, INC.
 f/k/a ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 BRYANT BEEF LLC,

        Defendant.



                                            COMPLAINT

       Plaintiff, Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant Bryant Beef LLC (“Defendant”), and alleges as follows:

                                           THE PARTIES

       1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Broward County, Florida.

       2.      Defendant is a limited liability company organized and existing under the laws of

the State of Tennessee with its principal place of business located at 1202 Zirkle Road, Dandridge,

TN 37725. Defendant’s agent for service of process is United States Corporation Agents, Inc.,

5865 Ridgeway Center Pkwy, Ste 384, Memphis, TN 38120.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

       4.      This Court has personal jurisdiction over Defendant because it has maintained


                                           COPYCAT LEGAL PLLC
                       3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                         TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 1 of 8 PageID #: 1
sufficient minimum contacts with Tennessee such that the exercise of personal jurisdiction over it

would not offend traditional notions of fair play and substantial justice.

       5.        Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

Defendant or its agents reside or may be found in this district. “[A]n individual defendant ‘may be

found’ in any federal district in which he or she is subject to personal jurisdiction.” J4 Promotions,

Inc. v. Splash Dogs, LLC, No. 08 CV 977, 2009 U.S. Dist. LEXIS 11023, at *79 (N.D. Ohio Feb.

13, 2009). In other words, venue is proper in his District because Defendant is subject to personal

jurisdiction in this District. See Big Guy's Pinball, LLC v. Lipham, No. 14-CV-14185, 2015 U.S.

Dist. LEXIS 89512, at *2 (E.D. Mich. July 10, 2015).

                                                 FACTS

I.     Plaintiff’s Business

       6.        Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

       7.        Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

         8.      Plaintiff charges its clients (generally, grocery stores, restaurant chains, food

 service companies, etc.) a minimum monthly fee of $999.00 for access to its library of

 professional photographs.

       9.        Plaintiff does not license individual photographs or otherwise make individual

photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.


                                                     2
                                            COPYCAT LEGAL PLLC
                        3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                          TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 2 of 8 PageID #: 2
          10.   Plaintiff owns each of the photographs available for license on its website and

serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.       The Work at Issue in this Lawsuit

          11.   In   1995,   a    professional      photographer       created     a   photograph   titled

“CheeseSlicedcolby_ADL” (the “Work”). A copy of the Work is exhibited below:




          12.   The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the US Copyright

Office on March 15, 2017, and was assigned Registration No. VA 2-033-004. A true and correct

copy of the Certificate of Registration pertaining to the Work is attached hereto as Exhibit “A.”

          13.   Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.
                                                    3
                                           COPYCAT LEGAL PLLC
                       3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                         TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 3 of 8 PageID #: 3
III.   Defendant’s Unlawful Activities

       14.     Defendant is a company that promotes local agriculture that processes, produces,

purchases, and raises cattle, that provides store front retail and online delivery services to its

customers.

       15.     Defendant advertises/markets its business primarily through its website

(https://bryantbeef.com/), social media (e.g., https://www.facebook.com/smokymountainmade),

and other forms of advertising.

       16.     On a date (after Plaintiff’s above-referenced copyright registration of the Work),

Defendant published the Work on its website, webpage, and/or social media page (at

https://bryantbeef.com/product/sliced-colby-jack-cheese/):




        17.    A true and correct copy of a screenshot of Defendant’s website, webpage, and/or


                                                   4
                                          COPYCAT LEGAL PLLC
                      3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                        TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 4 of 8 PageID #: 4
 social media page, displaying the copyrighted Work, is attached hereto as Exhibit “B.”

         18.   Defendant is not and has never been licensed to use or display any of the Work.

 Defendant never contacted Plaintiff to seek permission to use the Work in connection with its

 website, webpage, social media, print advertising, or for any other purpose – even though the

 Work that was copied is clearly professional stock photography that would put Defendant on

 notice that the Work was not intended for public use.

         19.   Defendant utilized the Work for commercial use.

         20.   Upon information and belief, Defendant located a copy of the Work on the internet

 and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

 commercial use.

         21.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,

 Plaintiff first discovered Defendant’s unauthorized use/display of the Work in October 2022.

 Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized use.

 To date, Plaintiff has been unable to negotiate a reasonable license for the past/existing

 infringement of its Work.

         22.   All conditions precedent to this action have been performed or have been waived.

                        COUNT I – COPYRIGHT INFRINGEMENT

         23.   Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set forth above.

         24.   The Work is an original work of authorship, embodying copyrightable subject

 matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

 et seq.).

         25.   Plaintiff owns a valid copyright in the Work, having registered the Work with the


                                                    5
                                           COPYCAT LEGAL PLLC
                       3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                         TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 5 of 8 PageID #: 5
 Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

 Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

        26.    As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

 Defendant had access to the Work prior to its own reproduction, distribution, and public display

 of the Work on its website.

        27.    Defendant reproduced, distributed, and publicly displayed the Work without

 authorization from Plaintiff.

        28.    By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

 violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

 displaying the Work for its own commercial purposes.

         29.   Defendant’s infringement was willful as it acted with actual knowledge or reckless

 disregard for whether its conduct infringed upon Plaintiff’s copyright. Notably, Defendant itself

 utilizes a copyright disclaimer on its website (“Copyright 2023 © Bryant Beef”), indicating that

 Defendant understands the importance of copyright protection and intellectual property rights

 and is actually representing that it owns each of the photographs published on its website. See,

 e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-TWP-DLP, 2018 U.S. Dist. LEXIS

 127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness of ROI’s infringement is evidenced

 by the fact that at the bottom of the webpage on which the Indianapolis photograph was

 unlawfully published appeared the following: ‘Copyright © 2017.’ By placing a copyright mark

 at the bottom of its webpage that contained Mr. Bell’s copyrighted Indianapolis Photograph, Mr.

 Bell asserts ROI willfully infringed his copyright by claiming that it owned the copyright to

 everything on the webpage; John Perez Graphics & Design, LLC v. Green Tree Inv. Grp., Inc.,


                                                    6
                                           COPYCAT LEGAL PLLC
                       3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                         TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 6 of 8 PageID #: 6
 Civil Action No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at *12-13 (N.D. Tex. May 1,

 2013) (“Once on Defendant’s website, Defendant asserted ownership of Plaintiff's Registered

 Work by including a copyright notice at the bottom of the page. Based on these allegations, the

 Court finds Plaintiff has sufficiently pled a willful violation….”). Defendant clearly understands

 that high-end food photography is not generally available for free or that such can simply be

 copied from the internet.

        30.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

 infringement.

        31.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

 unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)),

 Plaintiff is entitled to recover damages based on a disgorgement of Defendant’s profits from

 infringement of the Work, which amounts shall be proven at trial.

        32.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

 pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

        33.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover his costs and

 attorneys’ fees as a result of Defendant’s conduct.

        34.      Defendant’s conduct has caused, and any continued infringing conduct will

 continue to cause, irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

 adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

 injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

   a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;


                                                      7
                                             COPYCAT LEGAL PLLC
                         3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                           TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 7 of 8 PageID #: 7
   b. A declaration that such infringement is willful;

   c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

       Plaintiff’s election, an award of statutory damages for willful infringement up to

       $150,000.00 for each infringement of the Work;

   d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

   e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

   f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

       successors, affiliates, subsidiaries and assigns, and all those in active concert and

       participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

       or continuing to display, transfer, advertise, reproduce, or otherwise market any works

       derived or copied from the Work or to participate or assist in any such activity; and

   g. For such other relief as the Court deems just and proper.

                                       Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: December 7, 2023.

COPYCAT LEGAL PLLC
3111 N. University Drive
Suite 301
Coral Springs, FL 33065
Telephone: (877) 437-6228
pleadings@copycatlegal.com
joboyle@oboylelawfirm.com

By: /s/ Jonathan O’Boyle
        Jonathan O’Boyle, Esq.
        Of counsel




                                                     8
                                            COPYCAT LEGAL PLLC
                        3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                          TELEPHONE (877) 437-6228
Case 3:23-cv-00433-TAV-JEM Document 1 Filed 12/07/23 Page 8 of 8 PageID #: 8
